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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION             )   MDL 2804
OPIATE LITIGATION                        )
                                         )   Case No. 1:17-md-2804
This Document Relates To:                )
                                         )   1:18-op-45820-DAP
BON SECOURS                              )
HEALTH SYSTEM, INC.; BON                 )   Judge Dan Aaron Polster
SECOURS-RICHMOND COMMUNITY               )
HOSPITAL, INCORPORATED; BON              )   SHORT FORM FOR
SECOURS DEPAUL MEDICAL                   )   SUPPLEMENTING COMPLAINT AND
CENTER, INC.; BON SECOURS-               )   AMENDING DEFENDANTS AND
MEMORIAL REGIONAL MEDICAL                )   JURY DEMAND
CENTER, INC.; BON SECOURS-ST.            )
FRANCIS MEDICAL CENTER, INC.;            )
BON SECOURS-ST. MARY’S                   )
HOSPITAL OF RICHMOND, INC.; BON          )
SECOURS-VIRGINIA                         )
HEALTHSOURCE, INC.;                      )
CHESAPEAKE HOSPITAL                      )
CORPORATION; MARY                        )
IMMACULATE HOSPITAL,                     )
INCORPORATED, MARYVIEW                   )
HOSPITAL                                 )
                                         )
V.                                       )
                                         )
ACTAVIS PHARMA, INC. F/K/A               )
WATSON PHARMA, INC.; ALLERGAN            )
PLC, F/K/A ACTAVIS PLC; WATSON           )
LABORATORIES, INC.; ACTAVIS,             )
LLC; ALLERGAN FINANCE LLC                )
F/K/A ACTAVIS, INC. F/K/A WATSON         )
PHARMACEUTICALS, INC.;                   )
ADVANTAGE LOGISTICS;                     )
AMERICAN SALES COMPANY;                  )
AMERIDOSE, LLC;                          )
AMERISOURCEBERGEN DRUG                   )
CORPORATION; AMNEAL                      )
PHARMACEUTICALS, LLC; ANDA,              )
INC.; APOTEX CORP.; ASSOCIATED           )
PHARMACIES, INC.; AUBURN                 )
PHARMACEUTICAL COMPANY;                  )
BEDFORD LABORATORIES;                    )
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BLOODWORTH WHOLESALE                  )
DRUGS, INC.; CARDINAL HEALTH,         )
INC.; CEDARDALE DISTRIBUTORS          )
LLC D/B/A GEN-SOURCE RX; CVS          )
HEALTH CORPORATION; ECKERD            )
CORPORATION; ECR                      )
PHARMACEUTICALS CO., INC.;            )
EMERGENCY MEDICAL PRODUCTS,           )
INC.; ENDO HEALTH SOLUTIONS,          )
INC.; ENDO PHARMACEUTICALS,           )
INC.; ETHEX CORPORATION;              )
HOSPIRA, INC.; JANSSEN                )
PHARMACEUTICALS, INC.;                )
JOHNSON & JOHNSON; KEYSOURCE          )
MEDICAL; THE KROGER CO.; KVK-         )
TECH, INC.; MCKESSON                  )
CORPORATION; MEDISCA INC.;            )
MIDWEST VETERINARY SUPPLY             )
INC.; MWI VETERINARY SUPPLY;          )
MYLAN PHARMACEUTICALS, INC.;          )
N.C. MUTUAL WHOLESALE DRUG            )
CO. A/K/A MUTUAL DRUG;                )
OMNICARE DISTRIBUTION CENTER          )
LLC; ORTHO-MCNEIL-JANSSEN             )
PHARMACEUTICALS, INC. N/K/A           )
JANSSEN PHARMACEUTICALS, INC.;        )
JANSSEN PHARMACEUTICA INC.,           )
N/K/A JANSSEN                         )
PHARMACEUTICALS, INC.;                )
NORAMCO, INC.; PAR                    )
PHARMACEUTICAL; PAR                   )
PHARMACEUTICAL COMPANIES,             )
INC.; PATIENT FIRST                   )
CORPORATION; PATTERSON                )
LOGISTICS SERVICES, INC.;             )
PATTERSON VETERINARY SUPPLY           )
INC.; PENN VETERINARY SUPPLY;         )
PHARMEDIUM SERVICES LLC;              )
PURDUE PHARMA L.P.; PURDUE            )
PHARMA, INC.; PURDUE FREDERICK        )
COMPANY, INC.; RHODES                 )
PHARMACEUTICALS; RITE AID             )
CORPORATION; SANDOZ INC.;             )
SMITH DRUG COMPANY A/K/A J M          )
SMITH CORPORATION; SPECGX,            )
LLC; SUN PHARMACEUTICAL               )

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INDUSTRIES, INC.; TEVA                               )
PHARMACEUTICALS USA, INC.;                           )
TEVA PHARMACEUTICAL                                  )
INDUSTRIES, LTD.; THE HARVARD                        )
DRUG GROUP, L.L.C.; TOP RX, LLC;                     )
WALGREENS BOOTS ALLIANCE,                            )
INC.; WAL-MART INC.; WEST-WARD                       )
PHARMACEUTICALS CORP. K/N/A                          )
HIKMA PHARMACEUTICALS, INC.;                         )
CEPHALON, INC.; MALLINCKRODT                         )
LLC; MALLINCKRODT PLC                                )


                                           ***** ** ** *****

        Plaintiffs submit this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein their own prior pleadings and, if indicated below, the common factual

allegations identified and the RICO causes of action included in the Corrected Second Amended

Complaint and Jury Demand in the case of The County of Summit, Ohio, et al., v. Purdue

Pharma L.P., et al., Case No. 1:18-op-45090 (“Summit County Pleadings”), In Re National

Prescription Opiate Litigation, in the United States District Court for the Northern District of

Ohio, Doc. ##: 513, 514, 1 and as may be amended in the future, and any additional claims

asserted herein. Plaintiffs also hereby amend their complaint to alter the defendants against

which claims are asserted as identified below. To the extent defendants were previously sued in

Plaintiffs’ existing complaint and they are no longer identified as defendants herein, they have

been dismissed without prejudice except as limited by CMO-1, Section 6(e). Doc. #: 232.

             INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

        1.      Plaintiffs’ Existing Complaint, Bon Secours Health System, Inc., et al. v. Purdue

Pharma L.P., et al. (1:18-op-45820-DAP),as well as the Summit County Pleadings are expressly

1
  Docket #: 513 is the redacted Summit Second Amended Complaint and Docket #: 514 is the unredacted Summit
Corrected Second Amended Complaint filed under seal in Case No. 1:17-md-02804-DAP. The redacted Summit
Corrected Second Amended Complaint is also filed in its individual docket, Case No. 1:18-op-45090-DAP, Docket
#: 24.

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incorporated by reference to this Short Form as if fully set forth herein except to the extent that

allegations regarding certain defendants that are not listed in section 2 below are dismissed

without prejudice.

                                  PARTIES – DEFENDANTS

       2.      Having reviewed the relevant ARCOS data, Plaintiff asserts claims against the

following Defendants:

ACTAVIS PHARMA, INC. F/K/A WATSON PHARMA, INC.; ALLERGAN PLC, F/K/A
ACTAVIS PLC; WATSON LABORATORIES, INC.; ACTAVIS, LLC; ALLERGAN
FINANCE LLC F/K/A ACTAVIS, INC. F/K/A WATSON PHARMACEUTICALS, INC.;
ADVANTAGE LOGISTICS; AMERICAN SALES COMPANY; AMERIDOSE, LLC;
AMERISOURCEBERGEN DRUG CORPORATION; AMNEAL PHARMACEUTICALS,
LLC; ANDA, INC.; APOTEX CORP.; ASSOCIATED PHARMACIES, INC.; AUBURN
PHARMACEUTICAL COMPANY; BEDFORD LABORATORIES; BLOODWORTH
WHOLESALE DRUGS, INC.; CARDINAL HEALTH, INC.; CEDARDALE DISTRIBUTORS
LLC D/B/A GEN-SOURCE RX; CVS HEALTH CORPORATION; ECKERD
CORPORATION; ECR PHARMACEUTICALS CO., INC.; EMERGENCY MEDICAL
PRODUCTS, INC.; ENDO HEALTH SOLUTIONS, INC.; ENDO PHARMACEUTICALS,
INC.; ETHEX CORPORATION; HOSPIRA, INC.; JANSSEN PHARMACEUTICALS, INC.;
JOHNSON & JOHNSON; KEYSOURCE MEDICAL; THE KROGER CO.; KVK-TECH, INC.;
MCKESSON CORPORATION; MEDISCA INC.; MIDWEST VETERINARY SUPPLY INC.;
MWI VETERINARY SUPPLY; MYLAN PHARMACEUTICALS, INC.; N.C. MUTUAL
WHOLESALE DRUG CO. A/K/A MUTUAL DRUG; OMNICARE DISTRIBUTION CENTER
LLC; ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC. N/K/A        JANSSEN
PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICA INC., N/K/A JANSSEN
PHARMACEUTICALS, INC.; NORAMCO, INC.; PAR PHARMACEUTICAL; PAR
PHARMACEUTICAL COMPANIES, INC.;          PATIENT FIRST CORPORATION;
PATTERSON LOGISTICS SERVICES, INC.; PATTERSON VETERINARY SUPPLY INC.;
PENN VETERINARY SUPPLY; PHARMEDIUM SERVICES LLC; PURDUE PHARMA L.P.;
PURDUE PHARMA, INC.; PURDUE FREDERICK COMPANY, INC.; RHODES
PHARMACEUTICALS; RITE AID CORPORATION; SANDOZ INC.; SMITH DRUG
COMPANY A/K/A J M SMITH CORPORATION; SPECGX, LLC; SUN
PHARMACEUTICAL INDUSTRIES, INC.; TEVA PHARMACEUTICALS USA, INC.; TEVA
PHARMACEUTICAL INDUSTRIES, LTD.; THE HARVARD DRUG GROUP, L.L.C.; TOP
RX, LLC; WALGREENS BOOTS ALLIANCE, INC.; WAL-MART INC.; WEST-WARD
PHARMACEUTICALS CORP. K/N/A HIKMA PHARMACEUTICALS, INC.; CEPHALON,
INC.; MALLINCKRODT LLC; MALLINCKRODT PLC.

       I, Robert K. Finnell, Counsel for Plaintiffs, certify that in identifying all Defendants,
I have followed the procedure approved by the Court and reviewed the ARCOS data that I
understand to be relevant to Plaintiffs.

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      I further certify that, except as set forth below, each of the Defendant(s) newly
added herein appears in the ARCOS data I reviewed.

       I understand that for each newly added Defendant not appearing in the ARCOS
data I must set forth below factual allegations sufficient to state a claim against any such
newly named Defendant that does not appear in the ARCOS data.

      The following newly added Defendant(s) do not appear in the ARCOS data I
reviewed:


Dated: March 15, 2019                        Signed: /s/ Robert K. Finnell

Factual Allegations Regarding Individual Defendants

       2.1    Defendants ALLERGAN PLC, F/K/A ACTAVIS PLC; WATSON
LABORATORIES, INC.; ADVANTAGE LOGISTICS; AMERICAN SALES COMPANY;
AMERIDOSE, LLC; AMNEAL PHARMACEUTICALS, LLC; ANDA, INC.; APOTEX
CORP.; ASSOCIATED PHARMACIES, INC.; AUBURN PHARMACEUTICAL COMPANY;
BEDFORD LABORATORIES; BLOODWORTH WHOLESALE DRUGS, INC.;
CEDARDALE DISTRIBUTORS LLC D/B/A GEN-SOURCE RX; CVS HEALTH
CORPORATION; ECKERD CORPORATION; ECR PHARMACEUTICALS CO., INC.;
EMERGENCY MEDICAL PRODUCTS, INC.; ETHEX CORPORATION; HOSPIRA, INC.;
KEYSOURCE MEDICAL; THE KROGER CO.; KVK-TECH, INC.; MEDISCA INC.;
MIDWEST VETERINARY SUPPLY INC.; MWI VETERINARY SUPPLY; MYLAN
PHARMACEUTICALS, INC.; N.C. MUTUAL WHOLESALE DRUG CO. A/K/A MUTUAL
DRUG; OMNICARE DISTRIBUTION CENTER LLC; PAR PHARMACEUTICAL
COMPANIES, INC.; PAR PHARMACEUTICAL, INC.; PATIENT FIRST CORPORATION;
PATTERSON LOGISTICS SERVICES, INC.; PATTERSON VETERINARY SUPPLY INC.;
PENN VETERINARY SUPPLY; PHARMEDIUM SERVICES LLC; RHODES
PHARMACEUTICALS; RITE AID CORPORATION; SANDOZ INC.; SMITH DRUG
COMPANY A/K/A J M SMITH CORPORATION; SPECGX, LLC; SUN
PHARMACEUTICAL INDUSTRIES, INC.; THE HARVARD DRUG GROUP, L.L.C.; TOP
RX, LLC; WALGREENS BOOTS ALLIANCE, INC.; WAL-MART INC.; WEST-WARD
PHARMACEUTICALS CORP. K/N/A HIKMA PHARMACEUTICALS, INC.; are hereby
added as Defendants by this pleading based on the following jurisdictional allegations:

       2.1.1   Defendant Allergan Finance LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc. is hereby now named replacing Watson Pharmaceuticals, Inc. n/k/a

Actavis Inc. Plaintiffs expressly incorporate the jurisdictional and factual allegations previously

asserted in Plaintiffs’ original complaint against Watson Pharmaceuticals, Inc. n/k/a Actavis Inc.




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as if set forth in full herein against Allergan Finance LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc.


       2.1.2   Defendant Advantage Logistics is an Arizona corporation with its principal place

of business in Scottsdale, Arizona. Advantage Logistics distributed opioids, in violation of the

duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations

incorporated herein, in sufficient quantities to be a proximate cause of Plaintiffs’

injuries. Advantage Logistics is being sued as a Distributor Defendant.

       2.1.3   Defendant American Sales Company LLC is a Delaware corporation with its

principal place of business in Lancaster, New York. American            Sales     Company        LLC

distributed opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original

complaint and the other allegations incorporated herein, in sufficient quantities to be a proximate

cause of Plaintiffs’ injuries. American Sales Company LLC is being sued as a Distributor

Defendant.

       2.1.4   Defendant Ameridose, LLC is a Massachusetts limited liability company

organized and existing under the laws of the Commonwealth of Massachusetts with a principal

place of business in Westborough, Massachusetts.          Ameridose, LLC distributed opioids, in

violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the

other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Ameridose, LLC is being sued as a Distributor Defendant.

       2.1.5   Defendant Amneal Pharmaceuticals, LLC is a Delaware corporation with its

principal place of business in Bridgewater Township, New Jersey. Amneal was created when

Amneal Pharmaceuticals, LLC merged with Impax in 2018. Amneal manufactures, promotes,

distributes, and/or sells opioids throughout Plaintiffs’ Communities and/or the rest of the nation


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in violation of the duties owed to Plaintiff, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Amneal Pharmaceuticals, LLC is being sued as a Marketing Defendant. 2

         2.1.6    Defendant Anda, Inc. (“Anda”), through its various DEA registrant subsidiaries

and affiliated entities, including but not limited to Anda Pharmaceuticals, Inc., is the fourth

largest distributor of generic pharmaceuticals in the United States. Anda is a Florida corporation

with its principal place of business in Weston, Florida. In October 2016, Defendant Teva

acquired Anda from Allergan plc (i.e., Defendant Actavis) for $500 million. At all relevant

times, Anda operated as a licensed pharmaceutical wholesaler in Plaintiffs’ communities. Anda

distributed opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original

complaint and the other allegations incorporated herein, in sufficient quantities to be a proximate

cause of Plaintiffs’ injuries. Anda is being sued as a Distributor Defendant.

         2.1.7    Defendant Apotex Corp. is a Florida corporation with its principal office located

in Weston, Florida. Apotex Corporation operates as a subsidiary of Apotex, Inc. Apotex Corp.

manufactures, promotes, distributes, and/or sells opioids throughout Plaintiffs’ Communities

and/or the rest of the nation in violation of the duties owed to Plaintiff, in sufficient quantities to

be a proximate cause of Plaintiffs’ injuries. Apotex Corp. is being sued as a Marketing

Defendant.

         2.1.8    Defendant Associated Pharmacies, Inc. is a Alabama corporation with its

principal office located in Scottsboro, Alabama. Associated Pharmacies, Inc. operates as a

subsidiary of American Associated Pharmacies, Incorporated. Associated Pharmacies, Inc.

distributed opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original

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  “Marketing Defendant” is the term used in the The County of Summit, Ohio, et al., v. Purdue Pharma L.P., et al.,
Case No. 1:18-op-45090 pleadings. In Plaintiffs’ original complaint, incorporated herein, the term “Manufacturer
Defendants” was used to refer to the same entities. For the purposes of this Short Form Complaint, Plaintiffs use the
term “Marketing Defendant” but expressly incorporates each and every jurisdictional and factual allegation
previously asserted in Plaintiffs’ original complaint against the “Manufacturing Defendants.”

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complaint and the other allegations incorporated herein, in sufficient quantities to be a proximate

cause of Plaintiffs’ injuries. Associated Pharmacies, Inc. is being sued as a Distributor

Defendant.

       2.1.9   Defendant Auburn Pharmaceutical Company is a Michigan Corporation with

its principal place of business in Troy, Michigan. Auburn Pharmaceutical Company distributed

opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint

and the other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Auburn Pharmaceutical Company is being sued as a Distributor Defendant.

       2.1.10 Defendant Bedford Laboratories is an unincorporated division of Ben Venue

Laboratories, Inc. and has its principal place of business within the Northern District of Ohio, in

Bedford, Ohio. Ben Venue Laboratories is incorporated in the State of Delaware. Bedford

Laboratories manufactures, promotes, distributes, and/or sells opioids throughout Plaintiffs’

Communities and/or the rest of the nation in violation of the duties owed to Plaintiff, in sufficient

quantities to be a proximate cause of Plaintiffs’ injuries. Bedford Laboratories is being sued as a

Marketing Defendant.

       2.1.11 Defendant Bloodworth Wholesale Drugs, Inc. is a Georgia Corporation with its

principal place of business in Tifton, Georgia. Bloodworth Wholesale Drugs, Inc. distributed

opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint

and the other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Bloodworth Wholesale Drugs, Inc. is being sued as a Distributor Defendant.

       2.1.12 Defendant Cedardale Distributors LLC d/b/a Gen-Source RX is a New Jersey

limited liability company with its principal office located in East Brunswick, New Jersey.

Cedardale Distributors LLC distributed opioids, in violation of the duties owed to Plaintiffs as



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set forth in Plaintiffs’ original complaint and the other allegations incorporated herein, in

sufficient quantities to be a proximate cause of Plaintiffs’ injuries. Cedardale Distributors LLC

is being sued as a Distributor Defendant.

       2.1.13 Defendant CVS Health Corporation is a Delaware corporation with its principal

place of business in Rhode Island. CVS Health Corporation conducts business as a licensed

wholesale distributor under the following named business entities: CVS Indiana, L.L.C.; CVS

Orlando FL Distribution; CVS Pharmacy, Inc.; CVS RX Services, Inc, d/b/a CVS Pharmacy

Distribution Center; CVS TN Distribution, LLC ; and CVS VERO FL Distribution, L.L.C

(collectively “CVS”). CVS is registered to conduct business and/or conducts business in

Plaintiffs’ community as a licensed wholesale pharmaceutical Distributor. CVS distributed

opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint

and the other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. CVS is being sued as a Distributor Defendant.

       2.1.14 Defendant Eckerd Corporation d/b/a Eckerd Pharmacy (“Eckerd”) is a

Delaware corporation with its headquarters in Largo, Florida. Eckerd distributed opioids, in

violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the

other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Eckerd is being sued as a Distributor Defendant.

       2.1.15 Defendant ECR Pharmaceuticals Co., Inc. is a Delaware corporation (status

withdrawn), a division of Valeant Pharmaceuticals North America LLC headquartered in

Bridgewater, New Jersey. ECR Pharmaceuticals Co., Inc. distributed opioids, in violation of the

duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations




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incorporated herein, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. ECR

Pharmaceuticals Co., Inc. is being sued as a Distributor Defendant.

       2.1.16 Defendant Emergency Medical Products, Inc. is a Wisconsin corporation

headquartered in Cudahy, Wisconsin. Emergency Medical Products, Inc. distributed opioids, in

violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the

other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Emergency Medical Products, Inc. is being sued as a Distributor Defendant.

       2.1.17 Defendant Ethex Corporation (“Ethex”) was a wholly owned subsidiary of KV

Pharmaceutical k/n/a AMAG Pharma USA, Inc., a Delaware corporation previously

headquartered in St. Louis, Missouri, and currently headquartered in Waltham, Massachusetts.

At all relevant times, Ethex manufactures, promotes, distributes, and/or sells opioids throughout

Plaintiffs’ Communities and/or the rest of the nation in violation of the duties owed to Plaintiff,

in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. Ethex is being sued as a

Marketing Defendant.

       2.1.18 Defendant Hospira, Inc. (“Hospira”), was an American global pharmaceutical

company incorporated in Delaware and headquartered in Lake Forest, Illinois. Pfizer, Inc., a

Delaware corporation headquartered in New York City, New York, acquired Hospira in 2015.

At all relevant times, Hospira manufactures, promotes, distributes, and/or sells opioids

throughout Plaintiffs’ Communities and/or the rest of the nation in violation of the duties owed

to Plaintiff, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. Hospira is

being sued as a Marketing Defendant.

       2.1.19 Defendant KeySource Medical is an Ohio corporation with its principal office

located in Cincinnati, Ohio. KeySource Medical distributed opioids, in violation of the duties



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owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations

incorporated herein, in sufficient quantities to be a proximate cause of Plaintiffs’

injuries. KeySource Medical is being sued as a Distributor Defendant.

       2.1.20 Defendant The Kroger Co. (“Kroger”) is an Ohio corporation with its

headquarters in Cincinnati, Ohio. Fred Meyer, Inc. merged with Kroger in 1999. Kroger

operates 2,268 pharmacies in the United States. Kroger distributed opioids, in violation of the

duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations

incorporated herein, in sufficient quantities to be a proximate cause of Plaintiffs’

injuries. Kroger is being sued as a Distributor Defendant.

       2.1.21 Defendant KVK-Tech, Inc. (“KVK”), is a Pennsylvania corporation with its

principal place of business in Newtown, Pennsylvania.           KVK manufactures, promotes,

distributes, and/or sells opioids throughout Plaintiffs’ Communities and/or the rest of the nation

in violation of the duties owed to Plaintiff, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. KVK is being sued as a Marketing Defendant.

       2.1.22 Defendant Medisca Inc. is headquartered in St. Laurent Quebec, Canada.

Medisca Inc. distributed opioids, in violation of the duties owed to Plaintiffs as set forth in

Plaintiffs’ original complaint and the other allegations incorporated herein, in sufficient

quantities to be a proximate cause of Plaintiffs’ injuries. Medisca Inc. is being sued as a

Distributor Defendant.

       2.1.23 Defendant Midwest Veterinary Supply Inc. is a North Dakota corporation

headquartered in Lakeville, Minnesota. Midwest Veterinary Supply Inc. distributed opioids, in

violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the




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other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Midwest Veterinary Supply Inc. is being sued as a Distributor Defendant.

       2.1.24 Defendant MWI Veterinary Supply is an Idaho corporation Headquartered in

Boise, Idaho. MWI Veterinary Supply distributed opioids, in violation of the duties owed to

Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. MWI Veterinary

Supply is being sued as a Distributor Defendant.

       2.1.25 Defendant Mylan Pharmaceuticals, Inc. (“Mylan”) is a Pennsylvania

corporation, with its principal place of business located in Canonsburg, Pennsylvania. Mylan is a

wholly owned subsidiary of Mylan Laboratories, Ltd., which is a wholly owned subsidiary of

Mylan, Inc. Mylan manufactures, promotes, distributes, and/or sells opioids throughout

Plaintiffs’ Communities and/or the rest of the nation in violation of the duties owed to Plaintiff,

in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. Mylan is being sued as a

Marketing Defendant.

       2.1.26 Defendant N.C. Mutual Wholesale Drug Co. a/k/a Mutual Drug is a North

Carolina company Headquartered in Durham, North Carolina. N.C. Mutual Wholesale Drug Co.

distributed opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original

complaint and the other allegations incorporated herein, in sufficient quantities to be a proximate

cause of Plaintiffs’ injuries. N.C. Mutual Wholesale Drug Co. is being sued as a Distributor

Defendant.

       2.1.27 Defendant Omnicare Distribution Center LLC (“Omnicare”) is a Delaware

corporation with its principal place of business in Cincinnati, Ohio. Omnicare is a wholesale

distributor of pharmaceutical drugs that distributed opioids, in violation of the duties owed to



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Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries.         Omnicare is

being sued as a Distributor Defendant.

       2.1.28 Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-

owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings,

Inc. Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its

principal place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc., and

Par Pharmaceutical Companies, Inc., (collectively “Par Pharmaceutical”) was acquired by Endo

International plc in September 2015 and is an operating company of Endo International plc. Par

Pharmaceutical is registered to conduct business and/or conducts business in Plaintiffs’

community as a licensed wholesale pharmaceutical distributor. Par Pharmaceutical

manufactures, promotes, distributes, and/or sells opioids throughout Plaintiffs’ Communities

and/or the rest of the nation in violation of the duties owed to Plaintiff, in sufficient quantities to

be a proximate cause of Plaintiffs’ injuries. Par Pharmaceutical is being sued as a Marketing

Defendant.

       2.1.29 Defendant Patient First Corporation is a Virginia corporation headquartered in

Richmond, Virginia. Patient First Corporation distributed opioids, in violation of the duties

owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations

incorporated herein, in sufficient quantities to be a proximate cause of Plaintiffs’

injuries. Patient First Corporation is being sued as a Distributor Defendant.

       2.1.30 Defendant Patterson Logistics Services, Inc. is a Minnesota corporation

headquartered in Saint Paul, Minnesota. Patterson Logistics Services, Inc. distributed opioids, in



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violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the

other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Patterson Logistics Services, Inc. is being sued as a Distributor Defendant.

       2.1.31 Defendant Patterson Veterinary Supply Inc. is a Minnesota corporation

Headquartered in Saint Paul, Minnesota. Patterson Veterinary Supply Inc. distributed opioids, in

violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the

other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. Patterson Veterinary Supply Inc. is being sued as a Distributor Defendant.

       2.1.32 Defendant Penn Veterinary Supply is a Pennsylvania corporation headquartered

in Lancaster, Pennsylvania. Penn Veterinary Supply distributed opioids, in violation of the

duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations

incorporated herein, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. Penn

Veterinary Supply is being sued as a Distributor Defendant.

       2.1.33 Defendant PharMEDium Services LLC is a Delaware limited liability company

headquartered in Lake Forest, Illinois.     PharMEDium Services LLC distributed opioids, in

violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original complaint and the

other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiffs’ injuries. PharMEDium Services LLC is being sued as a Distributor Defendant.

       2.1.34 Defendant Rhodes Pharmaceuticals (“Rhodes”) is a Delaware limited

partnership formed in or around 2007 with headquarters located in Coventry, Rhode Island.

Rhodes manufactures, promotes, distributes, and/or sells opioids throughout Plaintiffs’

Communities and/or the rest of the nation in violation of the duties owed to Plaintiff, in sufficient




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quantities to be a proximate cause of Plaintiffs’ injuries. Rhodes is being sued as a Marketing

Defendant.

       2.1.35 Defendant Rite Aid Corporation (“Rite Aid”) is a Delaware corporation with its

principal place of business in Camp Hill, Pennsylvania. During all relevant times, Rite Aid

distributed opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’ original

complaint and the other allegations incorporated herein, in sufficient quantities to be a proximate

cause of Plaintiffs’ injuries. Rite Aid is being sued as a Distributor Defendant.

       2.1.36 Defendant Sandoz Inc. (“Sandoz”) is a Colorado corporation with its principal

place of business in Princeton, New Jersey. Sandoz manufactures, promotes, distributes, and/or

sells opioids throughout Plaintiffs’ Communities and/or the rest of the nation in violation of the

duties owed to Plaintiff, in sufficient quantities to be a proximate cause of Plaintiffs’

injuries. Sandoz is being sued as a Marketing Defendant.

       2.1.37 Defendant Smith Drug Company, a/k/a J M Smith Corporation, is registered

with the West Virginia Secretary of State as a South Carolina corporation with its principal

office located in Spartanburg, South Carolina, doing business as Smith Drug Company. Smith

Drug Company distributed opioids, in violation of the duties owed to Plaintiffs as set forth in

Plaintiffs’ original complaint and the other allegations incorporated herein, in sufficient

quantities to be a proximate cause of Plaintiffs’ injuries. Smith Drug Company is being sued as

a Distributor Defendant.

       2.1.38 Defendant SpecGx, LLC is a Delaware limited liability company with its

headquarters in Clayton, Missouri, and is a wholly owned subsidiary of Mallinckrodt plc.

Mallinckrodt plc, Mallinckrodt LLC, and SpecGx, and their DEA registrant subsidiaries and

affiliates (together “Mallinckrodt”) manufactures, promotes, distributes, and/or sells opioids



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throughout Plaintiffs’ Communities and/or the rest of the nation in violation of the duties owed

to Plaintiff, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. SpecGx LLC is

being sued as a Marketing Defendant.

       2.1.39 Defendant Sun Pharmaceutical Industries, Inc. (“Sun”), headquartered in

Cranbury, New Jersey, is a wholly owned subsidiary of Sun Pharmaceutical Industries Ltd., an

Indian multinational pharmaceutical company headquartered in Mumbai, India.                       Sun

manufactures, promotes, distributes, and/or sells opioids throughout Plaintiffs’ Communities

and/or the rest of the nation in violation of the duties owed to Plaintiff, in sufficient quantities to

be a proximate cause of Plaintiffs’ injuries.   Sun is being sued as a Marketing Defendant.

       2.1.40 Defendant The Harvard Drug Group, L.L.C. is a Michigan limited liability

company with its principal office located in Plymouth, Michigan. The Harvard Drug Group,

L.L.C. distributed opioids, in violation of the duties owed to Plaintiffs as set forth in Plaintiffs’

original complaint and the other allegations incorporated herein, in sufficient quantities to be a

proximate cause of Plaintiffs’ injuries. The Harvard Drug Group, L.L.C. is being sued as a

Distributor Defendant.

       2.1.41 Defendant Top Rx, LLC is a Delaware Corporation with its principal office in

Bartlett, Tennessee.     Top Rx, LLC distributed opioids, in violation of the duties owed to

Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. Top Rx, LLC is

being sued as a Distributor Defendant.

       2.1.42 Defendant Walgreens Boots Alliance, Inc. (“Walgreens”) is a Delaware

corporation with its principal place of business in Deerfield, Illinois. During all relevant times,

Walgreens distributed opioids, in violation of the duties owed to Plaintiffs as set forth in



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Plaintiffs’ original complaint and the other allegations incorporated herein, in sufficient

quantities to be a proximate cause of Plaintiffs’ injuries. Walgreens is being sued as a

Distributor Defendant.

       2.1.43 Defendant Wal-Mart Inc. (“Walmart”) formerly known as Wal-Mart Stores,

Inc., is a Delaware corporation with its principal place of business in Bentonville, Arkansas.

Walmart is registered to conduct business and/or conducts business in Plaintiffs’ Communities

as a licensed wholesale distributor. Walmart distributed opioids, in violation of the duties owed

to Plaintiffs as set forth in Plaintiffs’ original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiffs’ injuries. Walmart is being

sued as a Distributor Defendant.

       2.1.44 Defendant West-Ward Pharmaceuticals Corp., k/n/a Hikma Pharmaceuticals,

PLC (“West-Ward”) is a Delaware corporation with its headquarters in Eatontown, New Jersey.

West-Ward manufactures, promotes, distributes, and/or sells opioids throughout Plaintiffs’

Communities and/or the rest of the nation in violation of the duties owed to Plaintiff, in sufficient

quantities to be a proximate cause of Plaintiffs’ injuries. West-Ward Pharmaceuticals Corp. is

being sued as a Marketing Defendant.


                           COMMON FACTUAL ALLEGATIONS

       3.      By checking the boxes in this section, Plaintiffs hereby incorporate by reference

to this document the common factual allegations set forth in the Summit County Pleadings as

identified in the Court’s Order implementing the Short Form procedure. Doc. #: 1282.

       ☒ Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)

       ☒ RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)

       ☒ RICO Supply chain Enterprise Common Factual Allegations (Paragraphs 849-877)

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        4.     If additional claims are alleged below that were not pled in Plaintiffs’ Existing

Complaint (other than the RICO claims asserted herein), the facts supporting those allegations

must be pleaded here. Plaintiffs assert the following additional facts to support the claim(s)

identified in Paragraph 6 below (below or attached):

N/A

                                             CLAIMS

        5.     The following federal RICO causes of action asserted in the Summit County

Pleadings as identified in the Court’s implementing order and any subsequent amendments, Doc.

#: 1282, are incorporated in this Short Form by reference, in addition to the causes of action

already asserted in the Plaintiffs’ Existing Complaint (check all that apply):

        ☒ First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid
        Marketing Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and
        Mallinckrodt (the “RICO Marketing Defendants”)) (Summit County Pleadings,
        Paragraphs 878-905)

        ☒ Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid
        Supply Chain enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt,
        Actavis, McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain
        Defendants”)) (Summit County Pleadings, Paragraphs 906-938)

        6.     Plaintiffs assert the following additional claims as indicated (below or attached):

N/A

        7.     To the extent Plaintiffs wish to dismiss claims previously asserted in Plaintiffs’

Complaint, they are identified below and will be dismissed without prejudice.

N/A


        WHEREFORE, Plaintiffs pray for relief as set forth in the Summit County Pleadings in In

Re National Prescription Opiate Litigation in the United States District Court for the Northern




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District of Ohio, MDL No. 2804 and in Plaintiffs’ Existing Complaint as has been amended

herein.


Dated: March 15, 2019                       /s/ Robert K. Finnell
                                            ROBERT K. FINNELL
                                            Ga. Bar No. 261575
                                            THE FINNELL FIRM
                                            1 W. 4th Street, Suite 200
                                            Rome, GA 30161
                                            Phone: (706) 235-7272
                                            Facsimile: (706) 235-9461
                                            Attorney for Plaintiffs
4848-3251-8795, v. 1




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of March, 2019, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF System. Copies will be served upon counsel of

record by, and may be obtained through, the Court CM/ECF systems.


                                              By:    /s/ Robert K. Finnell
                                                     ROBERT K. FINNELL
                                                     Georgia Bar No. 261575
                                                     THE FINNELL FIRM
                                                     One West Fourth Avenue, Suite 200
                                                     Post Office Box 63
                                                     Rome, Georgia 30162
                                                     Phone: (706) 235-7272
                                                     Facsimile: (706) 235-9461
                                                     bob@finnellfirm.com




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